                                  Case 24-10160-CTG                  Doc 1       Filed 02/04/24           Page 1 of 20


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, w rite the debtor's name and the case number (i f
know n). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is av ailable.


1.   Debtor's name                NanoString Technologies, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names


3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  530 Fairview Avenue North, Suite 2000
                                  Seattle, WA 98109
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's w ebsite (URL)      https://nanostring.com /


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    NanoString Technologies, Inc.                                                               Case number (if known)
          Name


7.   Describe debtor's business A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b -2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4 -digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3345

8.   Under w hich chapter of the        Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.                                                     debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b -2.
                                             Chapter 12

9.   Were prior bankruptcy            No.
     cases filed by or against
     the debtor w ithin the last 8 Yes.
     years?
     If more than 2 cases, attach a
     separate list.                       District                                        When                                 Case number
                                          District                                        When                                 Case number

10. Are any bankruptcy cases                No
    pending or being filed by a             Yes.
    business partner or an
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Schedule 1                                               Relationship


                                                   District                               When                             Case number, if known



 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                Case 24-10160-CTG                     Doc 1       Filed 02/04/24            Page 3 of 20
Debtor   NanoString Technologies, Inc.                                                          Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor ow n or      No
    hav e possession of any
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs       Yes.
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?

                                               It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                            Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                               No


                                            Yes.       Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrativ e information

13. Debtor's estimation of      .      Check one:
    av ailable funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors                       50-99                                           5001-10,000                                50,001-100,000
    (on a consolidated basis)       100-199                                         10,001-25,000                              More than 100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)       $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor   NanoString Technologies, Inc.                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representativ e of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       02/04/2024
                                                  MM / DD / YYYY


                             X     /s/ R. Bradley Gray                                                    R. Bradley Gray
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Executive Officer




18. Signature of attorney    X    /s/ Edmon L. Morton                                                         Date 02/04/2024
                                 Signature of attorney for debtor                                                  MM / DD / YYYY

                                 Edm on L. Morton
                                 Printed name

                                 Young Conaw ay Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilm ington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (302) 571-6600                Email address      em orton@ycst.com

                                 3856 DE
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    NANOSTRING TECHNOLOGIES, INC.,                          Case No. 24-_____ (___)
    et al.,1
                                                            (Joint Administration Requested)
                               Debtors.


    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy Under Chapter 11

     1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is 001-35980.

     2. The following financial data is the latest available information and refers to the debtor’s condition as
        of the dates noted in the comments below.

          a. Total assets                                                       $274,713,000

          b. Total debts (including debts listed in 2.c., below)                $325,279,000

          c. Debt securities held by more than 500 holders:                     N/A

          d. Number of shares of preferred stock                                0

          e. Number of shares of common stock                                   48,118,306

Comments, if any:      Total assets and total debts are listed as of the quarterly period ended September 30,
2023. Shares of outstanding common stock are listed as of November 2, 2023.

     3. Brief description of debtor’s business: The debtors and debtors in possession in the above-
        captioned cases are a life sciences company whose products are used for scientific discovery and
        clinical research applications, primarily in the fields of genomics (which is the study of genes) and
        proteomics (which is the study of proteins).

     4.    List the names of any person who directly or indirectly owns, controls, or holds, with power to
          vote, 5% or more of the voting securities of debtor: Wellington Group Holdings LLP; BlackRock,
          Inc.; ARK Investment Management LLC; Polar Capital Holdings; Pura Vida Investments, LLC;
          The Vanguard Group; RA Capital Management, L.P. 2


1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     number, to the extent applicable, are NanoString Technologies, Inc. (4687), NanoString Technologies
     International, Inc. (2723), NanoString Technologies Netherlands B.V., and NanoString Technologies Germany
     GmbH. The Debtors’ headquarters is located at 530 Fairview Avenue North, Suite 2000, Seattle, WA 98109.
2
     As of April 24, 2023.
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                                             Schedule 1

                    Pending Bankruptcy Cases Filed by Affiliated Entities

       On the date hereof, each of the related entities listed below (collectively, the “Debtors”),

including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court

for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States

Code, 11 U.S.C. §§ 101–1532. Contemporaneously with the filing of their voluntary petitions, the

Debtors filed a motion requesting that the Court jointly administer their chapter 11 cases for

administrative purposes only.


                                                          Federal Employer Identification
                        Entity Name
                                                                   Number (EIN)
        NanoString Technologies, Inc.                   XX-XXXXXXX
        NanoString Technologies International, Inc.     XX-XXXXXXX
        NanoString Technologies Netherlands B.V.        N/A
        NanoString Technologies Germany GmbH            N/A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    NANOSTRING TECHNOLOGIES, INC.,                             Case No. 24-_____ (___)
    et al.,1
                                                               (Joint Administration Requested)
                                 Debtors.


                         CONSOLIDATED LIST OF CREDITORS
                     HOLDING THE 30 LARGEST UNSECURED CLAIMS

         Set forth below is the list of creditors that hold, based upon information presently available
and belief, the thirty (30) largest unsecured claims (the “Top 30 List”) against NanoString
Technologies, Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”).
This list has been prepared based upon the books and records of the Debtors. The Top 30 List was
prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing
in the Debtors’ chapter 11 cases. The Top 30 List does not include: (1) persons who come within
the definition of an “insider” as set forth in 11 U.S.C. § 101(31); or (2) secured creditors, including
those creditors with a right to setoff under applicable law, unless the value of the collateral (or
amount entitled to be offset) is such that the unsecured deficiency places the creditor among the
holders of the thirty (30) largest unsecured claims. The information presented in the Top 30 List
shall not constitute an admission by, nor is it binding on, the Debtors. The information presented
herein, including, without limitation, (a) the failure of the Debtors to list any claim as contingent,
unliquidated, disputed, or subject to a setoff; or (b) the listing of any claim as unsecured neither
constitutes an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor constitutes a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.

                                           [List appears on next page]




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are NanoString Technologies, Inc. (4687), NanoString Technologies International,
Inc. (2723), NanoString Technologies Netherlands B.V., and NanoString Technologies Germany GmbH. The
Debtors’ headquarters is located at 530 Fairview Avenue North, Suite 2000, Seattle, WA 98109
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Fill in this information to identify the case:
Debtor name: NanoString Technologies, Inc.
                                                                                                         Check if this is an amended filing
United States Bankruptcy Court for the: District of Delaware
Case number (If known):__________



Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not                                                                                                                                                                                               2/4/2024
     Insiders
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
     Name of creditor and complete mailing address, including zip  Name, telephone number, and      Nature of the claim (for example, trade debts, bank loans, Indicate if Amount of unsecured claim
                                code                              email address of creditor contact professional services, and government contracts)           claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                               contingent, claim amount. If claim is partially secured, fill in total
                                                                                                                                                               unliquidate claim amount and deduction for value of collateral or
                                                                                                                                                               d, or       setoff to calculate unsecured claim.
                                                                                                                                                               disputed
                                                                                                                                                                                 Total claim, if     Deduction for value of Unsecured claim
                                                                                                                                                                                 partially secured   collateral or setoff

 1   10x Genomics Inc                                                Serge Saxonov                      Patent infringement                                          Disputed         31,000,000                    -           31,000,000
     6230 Stoneridge Mall Rd, Pleasanton, CA 94588                   925-401-7300
                                                                     ssaxonov@10xgenomics.com

 2   SalesForce.com Inc. (AR)                                        Amy Weaver                         Software                                                                        1,465,708                   -            1,465,708
     415 Mission Street, 3rd Floor San Francisco, CA 94105           415-901-7000
                                                                     amy.weaver@salesforce.com

 3   Jason M. Wood                                                   Jason Wood                    Bank Service Charges                                                                 1,438,160                   -            1,438,160
     4885 PARADISE DR. TIBURON, CA 94920                             415-728-2220
                                                                     jason@jwoodcapital.com
 4   Weil, Gotshal & Manges, LLP                                     Edward Reines                 Legal - Litigation                                                                   1,358,525                   -            1,358,525
     767 5th Avenue, New York, NY 10017                              650-802-3000
                                                                     edward.reines@weil.com
 5   Lam Research Corporation                                        Timothy Archer                Accrued Royalties Payable                                                              881,459                   -              881,459
     4650 Cushing Parkway, Fremont, CA 94538                         510-572-1615
                                                                     timothy.archer@lamresearch.co
                                                                     m
 6   HCL Technologies Corp Srvcs Ltd                                 Anubhav Verma                 Capital in Progress                                                                    569,664                   -              569,664
     Axon Centre, Church Road, Egham TW20 9QB                        +91-845-090-4672
                                                                     anubhav.verma@hcl.com
 7   Gibson, Dunn & Crutcher LLP                                     Ryan A. Murr                  Legal - Corporate                                                                      522,188                   -              522,188
     555 Mission St., Sutie 3000, San Francisco, CA 94105            415-393-8373
                                                                     rmurr@gibsondunn.com
 8   Westin San Diego Gaslamp Quarter                                James Tate                    Contract                                                          Disputed             482,000                   -              482,000
     910 Broadway Circle, San Diego, CA 92101                        619-239-2200
                                                                     james.tate@westin.com
 9   D&K Engineering, Inc.                                           William C. Suttner            Systems - SMI - Deviations and Incremental Costs                  Disputed             451,832                   -              451,832
     16990 Goldentop Road, San Diego, CA 92127                       858-376-2500
                                                                     wsuttner@dkengineering.com

10 Idex Health and Science                                           Mark Joiner                        Instrument                                                                        407,106                   -              407,106
     12906 Collections Center Dr., Chicago, IL 60693                 847-498-7070
                                                                     MJoiner@idexcorp.com
11 Oyster Bay Pump Works, Inc.                                       No Contact Found                   Capital in Progress                                                               352,275                   -              352,275
     78 Midland Ave, Hicksville, NY 11801                            516-933-4500
                                                                     info@obpw.com
12 FGS Global (US) LLC                                               Ajay Jmnarkar                      Consulting                                                                        237,984                   -              237,984
     909 Third Ave, 32nd Floor, New York, NY 10022                   646-805-2007
                                                                     ajay@fgsglobal.com
13 Marketo, Inc.                                                     Jack Hagler                        Sales/Marketing-E-Marketing                                                       219,408                   -              219,408
     345 Park Ave, San Jose, CA 95110                                720-370-5695
                                                                     jhagler@adobe.com
14 Slate360, Inc.                                                    Danielle Reeve                     Trade Shows                                                                       216,224                   -              216,224
     6628 Sky Pointe Dr, Suite 120, Las Vegas, NV 89131              720-633-5639
                                                                     dreeve@slate360inc.ocm
15 Eurofins Genomics LLC                                             Sumit Gupta                        SMI Reagents - COGS                                                               198,000                   -              198,000
     12701 Plantside Drive, Louisville, KY 40299                     800-688-2248
                                                                     sgupta@eurofinsus.com
16 Ankura Consulting Group LLC                                       Daniel Copps                       Legal - Litigation                                                                195,423                   -              195,423
     150 North Riverside Plaza, Suite 2400, Chicago, IL 60606        312-212-6100
                                                                     dcopps@ankura.com
17 LinkedIn Corporation                                              Nicole Singer                      Recruiting Expenses                                                               164,206                   -              164,206
     62228 Collections Center Drive, Chicago, IL 60693               650-687-3600
                                                                     nzucker@linkedin.com
18 Seismic Software, Inc.                                            Savannah Necessary                 Software                                                                          147,964                   -              147,964
     1129 E 16th St, Indianapolis, IN 46202                          855-466-8748
                                                                     snecessary@seismic.com
19 CaseSight, Inc.                                                   Andrea Dugan                       Consulting                                                                        140,737                   -              140,737
     100 Cummings Center, Suite 364B, Beverly, MA 01915              617-933-8550
                                                                     adugan@casesightinc.com
20 EPIQ EDISCOVERY SOLUTIONS INC.                                    Brain Castro                       Legal - Litigation                                                                127,171                   -              127,171
     777 Third Avenue 12th Floor, New York, NY 10017                 612-638-5555
                                                                     brain.castro@epiqglobal.com

21 Korvis LLC                                                        Blake Harvey                   Instrument                                                                            123,949                   -              123,949
     2101 NE Jack London, Corvallis, OR 97330                        541-738-4360
                                                                     blake.harvey@ascentialtech.com

22 Redapt, Inc.                                                      Kevin Myers                        Instrument                                                                        117,573                   -              117,573
     14051 NE 200TH ST., Woodinville, WA 98072                       425-882-0400
                                                                     meyers@redapt.com
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     Name of creditor and complete mailing address, including zip     Name, telephone number, and        Nature of the claim (for example, trade debts, bank loans,    Indicate if Amount of unsecured claim
                               code                                  email address of creditor contact   professional services, and government contracts)              claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                                       contingent, claim amount. If claim is partially secured, fill in total
                                                                                                                                                                       unliquidate claim amount and deduction for value of collateral or
                                                                                                                                                                       d, or       setoff to calculate unsecured claim.
                                                                                                                                                                       disputed
                                                                                                                                                                                    Total claim, if     Deduction for value of Unsecured claim
                                                                                                                                                                                    partially secured   collateral or setoff

23 Seattle Biosoftware, Inc.                                        Peter Askovich                       Software                                                                            116,500                   -              116,500
   6309B Phinney Ave. N., Seattle, WA 98103                         206-321-8626
                                                                    peter.askovich@seattlebiosoftw
                                                                    are.com
24 TrumpCard Holdings, LLC                                          Rachel Harris                        Outbound Freight - Instruments                                                      100,223                   -              100,223
   23807 Aliso Creek Road, Suite 200, Laguna Niguel, CA             800-496-2206
   92677                                                            rachel.harris@trumpcardinc.co
                                                                    m
25 CDW Corporation                                                  Mike Di Benedetto                    Service Contracts                                                                   100,026                   -              100,026
   40 E Rio Salado Pkwy, Tempe, AZ 85281                            847-465-6000
                                                                    mikedib@cdw.com
26 Smartsheet.com, Inc.                                             Jared Major                          Software                                                                              93,988                  -                93,988
   500 108th Ave NE #200, Bellevue, WA 98004                        425-324-2360
                                                                    jared.major@smartsheet.com
27 Schott North America, Inc.                                       Carlos Mendia                        Instrument                                                                            92,775                  -                92,775
   2 International Drive, Suite 105, Rye Brook, NY 10573            502-657-4413
                                                                    No email Found
28 Amazon Web Services, Inc.                                        Julie Ness                           Software                                                                              91,980                  -                91,980
   410 Terry Ave North Seattle, WA 98104                            206-335-6742
                                                                    j.ness@aws.amazon.com
29 GoGather LLC                                                     Brain Kellerman                      Trade Shows                                                                           87,780                  -                87,780
   27885 High Vista Drive, Escondido, CA 92026                      760-466-8080
                                                                    bkellerman@gogather.net
30 Lucid Vision Labs, Inc.                                          Rod Barman                           Instrument                                                                            79,611                  -                79,611
   Unit 130 - 13200 Dell Place, Richmond, BC V6V 2A2,               833-465-8243
   Canada                                                           rod.barman@thinklucid.com
DocuSign Envelope ID: 91BF10F0-6BB7-4769-B396-B7C2FCCE9842
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                                               SECRETARIAL CERTIFICATE

                            The undersigned, Secretary of NanoString Technologies, Inc., a Delaware
             corporation (the “Company”), hereby certifies as follows:

                             1.       I am the duly qualified and elected Secretary of the Company and, as such,
                                      am familiar with the facts herein certified, and I am duly authorized to
                                      certify same on behalf of the Company.

                             2.       Attached hereto as Exhibit A is a true and complete copy of the Resolutions
                                      (the “Resolutions”) of the Board of Directors (the “Board”) of the
                                      Company, duly adopted at a lawfully convened meeting of the Board on
                                      February 4, 2024 (the “Board Meeting”), by vote of the directors. The size
                                      of the Board is nine directors, and a quorum of the Board was present. The
                                      Resolutions were approved by nine directors.

                             3.       Such Resolutions have not been amended, altered, annulled, rescinded, or
                                      revoked, and are in full force and effect as of the date hereof. There exist
                                      no other subsequent resolutions of the Board relating to the matters set forth
                                      in the Resolutions attached hereto.

                            IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
             4th day of February, 2024.



                                                                         By:
                                                                         Name: Kathryn Surace-Smith
                                                                         Title: Corporate Secretary
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                      Exhibit A

                      Resolutions

                     See attached.
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                                    RESOLUTIONS
                                        OF THE
                               BOARD OF DIRECTORS
                                          OF
                           NANOSTRING TECHNOLOGIES, INC.
                                 a Delaware corporation

                                    Adopted February 4, 2024

                 WHEREAS, the board of directors (the “Board”) of NanoString Technologies,
Inc., a Delaware corporation (the “Company”), has reviewed and considered the financial and
operational condition of the Company and the Company’s business on the date hereof, including
the historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company, the market for the Company’s assets, credit market conditions, and
macroeconomic conditions impacting the Company;

                WHEREAS, the Board has received, reviewed, and considered the
recommendations of the senior management of the Company and the Company’s legal and
financial advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding under
chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”);

               WHEREAS, management of the Company is vested in the Board pursuant to
Section 3.1 of the Amended and Restated Bylaws of NanoString Technologies, Inc., effective as
of January 25, 2023 (the “Bylaws”), and section 141(a) of the General Corporation Law of the
State of Delaware; and

               WHEREAS, the Board desires to adopt and approve the following resolutions.

               NOW, THEREFORE, BE IT:

               Commencement and Prosecution of Bankruptcy Case


                RESOLVED, that, in the judgment of the Board, it is desirable and in the best
interests of the Company, its creditors, stockholders, and other interested parties that a voluntary
petition (the “Petition”) be filed by the Company in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) commencing a case (the “Bankruptcy Case”) under
the provisions of chapter 11 of the Bankruptcy Code, along with any recognition or similar
proceeding outside of the United States that may be required in relation thereto; and it is further

                RESOLVED, that the filing of a voluntary petition on behalf of the Company be,
and the same hereby is, approved, authorized, and adopted in all respects and that the Company’s
chief executive officer (the “Authorized Officer”), be and hereby is, authorized and empowered
on behalf of the Company, to execute, acknowledge, deliver, and verify the Petition and to cause
the same to be filed with the Bankruptcy Court at such time and in such form as the Authorized
Officer may determine (which approval and authorization thereof shall be conclusively evidenced
by the filing of the Petition with the Bankruptcy Court); and it is further
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                RESOLVED, that the Authorized Officer be, and hereby is, authorized to
(a) execute and file the Petition, along with all schedules of assets and liabilities, statements of
financial affairs, lists, motions, applications, pleadings, declarations, and other papers that the
Authorized Officer may determine necessary or proper in connection with such chapter 11 case,
(b) execute, acknowledge, deliver, and verify any and all documents necessary or proper in
connection with the Petition and to administer the Bankruptcy Case in such form or forms as the
Authorized Officer may determine necessary or proper and in order to effectuate the foregoing
resolutions, and (c) engage any professionals, including attorneys, accountants, financial advisors,
investment bankers, actuaries, consultants, brokers or other experts, as the Authorized Officer
determines necessary or proper to accomplish the purposes of the resolutions, with any such
determinations being conclusively evidenced by the executing, filing, acknowledging, delivering ,
verifying, or engaging thereof by the Authorized Officer); and it is further

                RESOLVED, that the Authorized Officer be, and hereby is, authorized, directed,
and empowered from time to time in the name and on behalf of the Company, to perform the
obligations of the Company under the Bankruptcy Code, with all such actions to be performed in
such manner, and all such certificates, instruments, guaranties, notices, and documents to be
executed and delivered in such form, as the Authorized Officer performing or executing the same
shall approve, and the performance or execution thereof by such Authorized Officer shall be
conclusive evidence of the approval thereof by such Authorized Officer and by the Company; and
it is further
                Retention of Professionals

                RESOLVED, that the law firm of Willkie Farr & Gallagher LLP (“Willkie”),
located at 787 Seventh Avenue, New York, NY 10019, shall be, and hereby is, authorized, directed,
and empowered to represent the Company as general bankruptcy counsel, to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights, including the preparation of pleadings and filings in its
Bankruptcy Case; and in connection therewith, the Authorized Officer be, and, acting alone or in
any combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of
the Company, to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of Willkie; and it is further

                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”), located at 1000 North King Street, Wilmington, DE, 19801, shall be, and
hereby is, authorized, directed, and empowered to represent the Company as Delaware bankruptcy
counsel, to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance the Company’s rights, including the preparation of
pleadings and filings in its Bankruptcy Case; and in connection therewith, the Authorized Officer
be, and, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of the Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause
to be filed an appropriate application for authority to retain the services of Young Conaway; and
it is further
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                RESOLVED, that the financial advisory firm of AlixPartners LLP
(“AlixPartners”), located at 909 Third Avenue, New York, NY 10022, shall be, and hereby is,
authorized, directed, and empowered to provide to the Company restructuring advisors to represent
and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights and obligations in connection with the Bankruptcy
Case; and, in connection therewith, the Authorized Officer be, and, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to execute appropriate retention agreements, pay appropriate retainers, if required, prior
to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
motion or application for authority to retain the services of AlixPartners; and it is further

                RESOLVED, that Perella Weinberg Partners LP (“Perella”) located at 767 Fifth
Avenue New York, NY 10153, shall be, and hereby is, authorized, directed, and empowered to
serve as investment banker to represent and assist the Company in connection with the potential
restructuring of the Company’s business and in carrying out its duties under the Bankruptcy Code
and to take any and all actions to advance the Company’s rights and obligations in connection with
the Bankruptcy Case; and in connection therewith, the Authorized Officer be, and, acting alone or
in any combination, hereby is, authorized, directed, and empowered, on behalf of and in the name
of the Company, to execute appropriate retention agreements, pay appropriate retainers, if
required, prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of Perella; and it is further

               RESOLVED, that Kroll Restructuring Administration LLC (“Kroll” and, together
with Willkie, Young Conaway, AlixPartners, and Perella, the “Advisors”), located at 55 East 52nd
Street, 17th Floor, New York, NY 10055, shall be, and hereby is, authorized, directed, and
empowered to serve as the notice, claims, solicitation, and balloting agent in connection with the
Bankruptcy Case; and in connection therewith, the Authorized Officer be, and, acting alone or in
any combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of
the Company, to execute appropriate retention agreements, pay appropriate retainers, if required,
prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed an
appropriate application for authority to retain the services of Kroll; and it is further

             RESOLVED, that the Advisors are hereby authorized to take any and all actions
necessary or desirable to advance the Company’s rights and obligations and facilitate the
Bankruptcy Case; and it is further

                RESOLVED, that each Authorized Officer be, and hereby is, authorized, directed,
and empowered, on behalf of and in the name of the Company, to employ any other individual or
firm as professionals, consultants, financial advisors, or investment bankers to the Company as is
deemed necessary to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and, in connection therewith, each Authorized Officer be, and hereby is,
authorized, directed, and empowered, on behalf of and in the name of the Company, to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Bankruptcy Case, and to cause to be filed an appropriate application or motion for
authority to retain the services of such individual or firms; and it is further
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               Post-Petition Financing

                RESOLVED, that in connection with the Bankruptcy Case, the Authorized Officer
shall be, and hereby is, authorized, directed, and empowered, in the name and on behalf of the
Company, as a debtor and debtor in possession, to negotiate, execute, and deliver agreements for
the use of cash collateral in connection with the Bankruptcy Case, which agreement(s) may require
the Company to acknowledge the debt and liens of existing loans, grant liens, and pay interest to
the Company’s existing lender(s) on terms substantially similar to those described or provided to
the Board; and in connection therewith, the Authorized Officer is hereby authorized and directed
to execute appropriate agreements and related ancillary documents; and it is further

                RESOLVED, that, in connection with the Bankruptcy Case, the Authorized
Officer shall be, and hereby is, authorized, directed, and empowered, in the name and on behalf of
the Company, as a debtor and debtor in possession, to (a) negotiate, execute, and deliver
agreements for postpetition financing on terms substantially similar to those described or provided
to the Board; (b) pledge and grant liens on the Company’s assets as may be contemplated by or
required under the terms of such postpetition financing; or (c) execute, deliver, verify, and/or file,
or cause to be filed and/or executed, delivered, or verified, and to amend, supplement, or otherwise
modify from time to time, all necessary and appropriate documents, including, without limitation ,
affidavits, schedules, motions, pleadings, and other documents, agreements, and papers,
postpetition financing documents, and loan agreements (including any ancillary documents
thereto) in such form as any such Authorized Officer may approve, and to take any and all actions
that any such Authorized Officer determines advisable, necessary, or appropriate in connection
with any postpetition financing or any cash collateral usage contemplated hereby or thereby (such
approval and the approval of the Board to be conclusively evidenced by the execution thereof or
taking of such action by an Authorized Officer); and it is further

               General

                 RESOLVED, that the Authorized Officer shall be, and hereby is, authorized,
directed, and empowered, in the name and on behalf of the Company, as a debtor and debtor in
possession, to negotiate, execute, deliver, and perform on behalf of the Company such actions and
execute, acknowledge, deliver, and verify such agreements, certificates, instruments, guaranties,
notices, and any and all other documents, and to amend, supplement, or otherwise modify from
time to time agreements, certificates, instruments, guaranties, notices, and all other documents,
including, without limitation, affidavits, schedules, motions, pleadings, and other documents,
agreements, and papers, in such form as the Authorized Officer may approve, and to take any and
all actions that the Authorized Officer determines advisable, necessary, or appropriate in
connection with the Bankruptcy Case or as the Authorized Officer may deem necessary or proper
to facilitate the transactions contemplated by these resolutions (such approval and the approval of
the Board to be conclusively evidenced by the execution thereof or taking of such action by the
Authorized Officer); and it is further

              RESOLVED, that all acts done or actions taken prior to the date hereof by the
Authorized Officer or any professionals engaged by the Company with respect to any transactions
contemplated by the foregoing resolutions, or otherwise in preparation for or in connection with
the Bankruptcy Case, or any proceedings related thereto, or any matter related thereto, be and
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hereby are, adopted, approved, authorized, ratified, and confirmed in all respects as the acts and
deeds of the Company.


                                   [Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
above written.


                                               BOARD OF DIRECTORS OF
                                               NANOSTRING TECHNOLOGIES, INC.


                                               By:
                                                     Elisha
                                                      li h W. Finney
                                                               i


                                               By:
                                                     Teresa Foy


                                               By:
                                                     Janet George


                                               By:
                                                     R. Bradley Gray


                                               By:
                                                     Kirk D. Malloy


                                               By:
                                                     Gregory Norden


                                               By:
                                                     Dana E. Rollinson


                                               By:
                                                     Charles P. Waite


                                               By:
                                                     William D. Young
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    NANOSTRING TECHNOLOGIES, INC.,                            Case No. 24-_____ (___)
    et al.,1
                                                              (Joint Administration Requested)
                                 Debtors.


                           CORPORATE OWNERSHIP STATEMENT
                        PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

          Pursuant to Rules 1007 and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

debtors and debtors in possession in the above-captioned cases (each, a “Debtor”), hereby state as

follows:

          1.       The following entities (together, the “Holders”) own ten percent (10%) or more of

the common stock, $0.0001 par value per share, of Debtor NanoString Technologies, Inc.

(“NanoString”) as of April 24, 2023:2

                 Name                                 Address                              Shares (%)
    Wellington Group Holdings            c/o Wellington Management                             13.6%
    LLP (“Wellington”)                   Company LLP
                                         280 Congress Street
                                         Boston, MA 02210
    BlackRock, Inc.                      55 East 52nd Street                                   10.3%
    (“BlackRock”)                        New York, New York 10055


1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, to the extent applicable, are NanoString Technologies, Inc. (4687), NanoString Technologies
      International, Inc. (2723), NanoString Technologies Netherlands B.V., and NanoString Technologies Germany
      GmbH. The Debtors’ headquarters is located at 530 Fairview Avenue North, Suite 2000, Seattle, WA 98109.
2
      The Company is providing the Holders’ ownership information based on Schedules 13G/A filed by the Holders
      with the U.S. Securities and Exchange Commission (the “SEC”) on February 6, 2023 in the case of Wellington
      and January 23, 2023 in the case of BlackRock (together, the “Schedules 13G/A”). NanoString is unable to
      provide further information other than what is currently publicly disclosed in NanoString’s filings with the SEC.
      Thus, by separate motion filed contemporaneously herewith, the Debtors are requesting a waiver of the
      requirement under Rule 1007 to file a list of all of its equity security holders.
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      2.     Debtor NanoString Technologies International, Inc. is 100% owned by NanoString.

      3.     Debtors NanoString Technologies Netherlands B.V. and NanoString Technologies

Germany GmbH are 100% owned by NanoString Technologies International, Inc.




                                            2
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 Fill in this information to identify the case:


 Debtor name                NanoString Technologies, Inc.


 United States Bankruptcy Court for the:                               DISTRICT OF DELAWARE


 Case number (if known)

                                                                                                                                                                                                                Check if this is an

                                                                                                                                                                                                                amended filing




Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15



An individual who is authorized to act on behalf of a non -individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and liabi lities, any other document that requires a

declaration that is not included in the document, and any amendments of those documents. This form must state the individual ’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy
Rules 1008 and 9011.


WARNING -- Bankruptcy fraud is a serious crime.          Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                      Declaration and signature




          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a representative of the debtor in this case.


          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                        Schedule H: Codebtors (Official Form 206H)

                        Summary of Assets and Liabilities for Non-Individuals    (Official Form 206Sum)

                        Amended Schedule

                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                        Other document that requires a declaration
                                                                                                          Consolidated Corporate Ownership Statement

          I declare under penalty of perjury that the foregoing is true and correct.

                                        February 4, 2024
           Executed on                                                                        X      /s/ R. Bradley Gray
                                                                                                  Signature of individual signing on behalf of debtor



                                                                                                  R. Bradley Gray
                                                                                                  Printed name



                                                                                                  President and Chief Executive Officer
                                                                                                  Position or relationship to debtor




Official Form 202                                                                      Declaration Under Penalty of Perjury for Non -Individual Debtors
